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19-2155
In Re: Mirena IUS Levonorgestrel-Related Products Liability Litigation (No. II)


                                 UNITED STATES COURT OF APPEALS
                                     FOR THE SECOND CIRCUIT

                                            August Term 2020

               (Argued: December 2, 2020                   Decided: December 8,2020)

                                           Docket No. 19-2155



        IN RE: MIRENA IUS LEVONORGESTREL-RELATED PRODUCTS LIABILITY
                              LITIGATION (NO. II)




ABRA CONING, KAYLA TALLEY, TIFFANY HAUSNER, SHANE HAUSNER, SHELAIN
    COOPER, ALLISON SIMPSON, AMELIA HOLMAN MILES, JONATHAN MILES,
JESSICA GUGLIELMO, MEGAN ROBINSON, KIMBERLY BLACK, CHAQUITA DUDLEY,
   KELLY RIEGEL-GREEN, DANISE HOFFMAN, JACQUELINE GOYENA, JANELLE
   PALLANSCH, BRITTANY GRECO, MISTY SOLOMON, DAPHNE HOUCK, HOLLY
  ALLEN, JENNIFER SANTIAGO, MELANIE HOWE, MISTY MCCANDLESS, ANGELA
 KLOPFENSTEIN, ADAM KLOPFENSTEIN, CATIE KESSLER, JACLYN SPETT, ABIGAIL
 MICHEL, CHERIE MCGEE, BRITTANY WILSON, BREANNA PIETERS, ELLEN BURNS,
   INDIVIDUALLY, DAVID BURNS, LAURA BURNS, WHITNEY WALKER, JESSICA
  WATSON, KARNA LYNNE PETTLON, AMBERLY BUCKNER, CARLEY HAMILTON,
  DANIELLA PAVELKA, ANDREA JOHNSON, CHRISTINA STEPHANIE ALBERTSON,
 ABIGAIL THIESING, AMANDA MASSIE, AMY EDWARDS, SHERRICKER RODGERS,
  ANNALISSA SANCHEZ, NICOLE VINCENT, LIANA ERB, SARAH MARIE WESSEL,
 KATIE MYERS, LATOYA S. THOMPSON, ASHLEY BABICH-ZACHARIAS, BETHANY
 VINCENT, WHITNEY MANCHEL WASHINGTON, LAUREN HARDWICK, BRITTANY
   S. SMITH, ELIZABETH HEAGY, BARBARA ANDERSON, SHAMARA VON LANE,
  CRYSTAL VAZQUEZ, BRITTANY COLLINS, ASHLEY NOBLES-HOBBS, SHAKARA
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      CARTER, MIRANDA GLEDHILL, MELISSA TOLBERT, DEVON MAHLSTEDT,
  DANIELLE ADAMS, LAUREN CARMAN, ANNA CONLEY, STEPHANIE DAWSON,
  ANDREA GEE, VICTORIA LEE, LACEY LANGSTON SANDERLIN, ASHLEY AMBER
  COCKRELL, SHAWNA LOUISE COOPER, MARYSSA REESE, CARNESHIA CASON,
KASEY GARRISON, ASHLEY STEED, STEFFANIE MICHELLE DENNIS, JESSICA MARIE
  PETERSON, KASEY JACKSON, LESLIE MARIE COAPMAN, LATRICIA ANDERSON
 JOHNSON, MARY MARGARET COTTINGHAM, SHAMEKA M. BRIDGES, PETERSON
   BRIDGES, LATONYA HOSKIN, KRISTEN DENISE BRYAN, SAMANTHA LIFORD,
  CHRISTI UTLEY, JESSICA STANLEY, MACEY BEELER, NOELLE HICKEY, CRYSTAL
   TAYLOR, VALERIE TOWNSEND, ANDREA VEGA, AMANDA EVANS, BREANNA
   WILLIAMS, MANDY MITLYNG, LYSSA KIRK, MARSHA SAPP HANKINS, LEAH
    FACKRELL, TIARA MITCHELL, SIOBHAN SCHALL, KATHLEEN CHEEK, BILLY
   CHEEK, NICOLE HAMILL, KAREAMA PATTERSON, KYLARA BOOTH, DANIEL
   PARSONS, CHRISTA DIEHL, VANESSA BOURGOIN, DANIEL BOURGOIN, KARA
STANLEY, TIFFANY SAWYER, CAITLYN ABOULBA, KEYSA ELLIS, MARIA AGUILAR,
ELLEN BURNS, AS PERSONAL REPRESENTATIVE OR EXECUTRIX OR ADMINISTRATRIX
       OF THE ESTATE OF ANNE ALDEN BURNS, AMANDA CLARK, TAQUOYA
 KERYAWNA WILLIAMS, MARIA PITTS, HEATHER NICOLLE MCMULLAN, NICOLE
 LASSO, RANDI WHITE, HEATHER ONSUM STOOPS, JANEKA HAYNES, SHENEQUA
PERDUE, RACHEL FREITAS, KATRINA EVERETT-CAREY, NAYELI JUAREZ-GARCIA,
  MELISSA FRANCES HALL, ELIZABETH ADAMS, SYLVIA GREER, NI'MATULLAH
KING, MARIE SHIVER, SUSAN TOOMEY, MEGAN HARRIS, KATHRYN ASBEL, ASHLI
     GARNER, LISA VALLERY, BRITTANY NICOLE JAMES, SARA TESS SANBORN,
  ROBERT ZINN, KIMBERLY STIER, DEWAYNA DENILLE BROWN, LOIS MICHELLE
  PALMER, KELLI SALAZAR, JESSICA ROBERSON, STACY BRYAN, STEVEN BRYAN,
REBECCA ELWOOD, AMBER HANSON, REBEKAH ROGERS, TESSA WATTS, SHEREE
  MITCHELL, LASHONDA ROBINS, MISTY REITZ, BERNESHA MEANS, SAMANTHA
   DAVIS, TAMATHA TUCKER-WHITAKER, MISTY COLEMAN-WOODS, SHARON
     CAIN, SHANNON WALKER, STEPHANIE SCHLUETER, KATHARINE WELLS,
  CYNTHIA GUNN, JESSICA HIXSON ROBINSON, JESSICA GARDNER, CATHERINE
     DIANNE BEITEL, CHRISTY NICOLE MCGREGOR, AMBER DARLENE PROUT,
 AMANDA LEEANN BARBER, ALETA BREK RICHARDS, ERICA SILVA, JOHN SILVA,
    III, AMY HODGE, JOANNA LYNN LUCERO, KELSEY RAMM, KATIE REBECCA
 LAWRENCE, KELLI BOYT ROWLAND, CANDICE SMALL, JADE A. LUDWIKOWSKI,
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  SHAHIRA OSMAN, NAQUASHA RISER, LAUREN ELIZABETH SINGLETON, JETTA
ALLEN, JULIANA CATARINA HERNANDEZ, TIRZAH MARIE ELLET, KAYLA SCOTT,
TOMEKA WILLIAMS-JAMES, COURTNEY TRENNEPOHL, TIFFANY COLLINS, STACY
    CAMINO, KATHLEEN FOX, CHANTHINIA WHITE, BRIANNA PETERS, DEVINA
WILLIAMS, CHAVON PLANGE, SADIE MILLER, STEPHANIE SELLERS, FREDDREKIA
BRADLEY, STARLA MCCOLLUM, LACEY HUBERT, ANAIS FORCIER, JENNIFER URE,
RHONDA PEZZULLO, RACHAEL NIKL, ALECIA CONNER, KIMMI VESEY, DEANNA
      MOONEY, MARLENE MENDEZ, CIERA TURNER, TYSHEA MOTT, MELISSA
POLOMSKY, HEATHER KURAMOTO, JESSICA BIHLER, LAMARA WALKER, CANDICE
    BAILEY, ALYSSA JOHNSON, KRISTIN CARRICO, GLORIBI PASTOR, CHANDRA
BROWN, JULIA MEACHEM, SHAQUANDA MCMILLION, LAKEYSHIA TATE, ASHLEY
 MCLUCKIE, KATELYNN HAMMOND, DORETHA SMITH, LAUREN HOLLOBAUGH,
      GEMBELLE HORLACHER, KIMBERLY BURKHART, KIMBERLY MACAULAY,
    MARISOL MARCANO, ASHLYN HACKWORTH-WILLIAMS, NADINE KELLAM,
   JONEL EDWARDS, ELIZABETH MONTANARO, STEPHANIE BREWER, ANGELINE
    STANGER, JESSICA ROSELAND, JACOB ROSELAND, NICOLE ASKIN, CHRISTIE
      EPPERLY, TIFFANY MOSLEY, NICOLE CLARK, NAOMI WILSON, PORSCHE
    PATTERSON, NATASHKA MILLER, KAREN CREAR, STACIE HUFFER, LATOYA
HUNT, LAUREN ROBERTS, BRITTANY THOMAS, AMBER HODA, CHRISTAL BAUGH,
   ARIN BOEHMER, JENNIFER DRAYTON, CHRISTINA HOLLAND, NIKIA BROWN,
     ALANA SIRMANS, ROSANNA KNUDSEN, MICHELLE MORGAN, MAUREEN
GARRETT, NICOLE PARKER, CONSTANCE STEELE, AMANDA GOODLET, KIMBERLY
    HENAO, BRIANNA BLACKMAN, ANGELA NORRED, JESSIKA ALLEN, PATRICE
 RENEE FRANK, CHRISTINA REID, REVA MCDONALD, CASSANDRA N. JOHNSON,
     FAITH LAW, JERALYN WILEY, JEFKIDA JOHNSON-STINSON, JALISA CRAPO,
  STEPHANIE GRADY, SIMIN KASHANI, IEACHA JACKSON, ALEXANDRA HAINES,
HEIDI THOMAS, LATOYA KENDRIX, SARAH ANNE MCLAUGHLIN, TIERRA HALL,
 JAMISHA DYER, AMY AMMONS, STEPHANIE ADAMS, ANDREA LUCERO, JESSICA
 LYNN SIMMONS, KRISTEN CAMPBELL, LAURA BRYAN, AIDA LOZADA, TABITHA
  LEE, AMANDA PICHLA, LATORIA WOODALL, BRITTANY WATKINS, ERENDIRA
   CUEVAS, LINDSEY ROSS, CRYSTAL COVERT, CATHERINA ANDRADE, KENDRA
 WICKWARE, KELLY CICHETTI, ASIA SHAKESPEARE, SAMANTHA STAATS, HALEY
 HENN, JENNIFER LEGASSIE, DESHONDA KNIGHT, TABITHA SAYLOR, ELIZABETH
K. MOORE, SIERRA MOORE, TAMARA WHALIN, BRITTANY HARSCH, KRISTEN N.
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   DONISHA BISHOP, MARGARET BENDER, CHELSEA M. SAWYER, GUADALUPE
 PINEDA, SHA.DEBRA COLLIER, VALERIE ARTHUR, CHRISTY S. MURPHY, JESSICA
   HUPMAN, JENNIFER SAND-SHEQUEN, DANA Y. COOPER, JENNIFER GUZDEK,
TRICIA PONICKI, TRACY D. GOULD, CORTNIE SHORT, DAVID RODRIGUEZ, JESSICA
    NIESLAWSKI, KARLA M. DUELLEY, NATALEE WILLIAMS, STEPHANIE BURT,
    PAULA C. GARCIA, JULIE NELSON, HEATHER BAKER, DAPHNE FRANKLIN,
 ANDREA MARTINEZ, ESHIA DAVIS, JUANITA FIGUEROA, DAWN BREEN, KINDRA
      NELSON, AMBER R. DRYDEN, ASHLEY PEARSON, MELISSA S. HOPKINS,
    MARQUITA WILLIAMS, JESSICA CASH, ELIZABETH BRYCE, NICOLE PERKINS,
 MARY WALKER, MADISON FOWLER, ALAINA DICE, TONI STREETER, CHEETARR
   JACKSON, APRIL ROBERTSON, KELSEY HARRIS, SIERRA RADDEN, MARQUSEY
     EVANS, DALIA JASSO, KAITLYN SKLENAR, STEPHANIE PELLETIER, SONYA
   RAMSEY, CHEYLO COLLADO, DETRA FERGUSON, ALISON ASHCROFT, JEANIE
LASCELLES, LORI ANNALORA, STEPHANIE STOCKMAN, TIERRA JACKSON, AMBER
OSTERMILLER-FORD, AMANDA STEVENS, KATHERINE SOTELO, TONI IVY, ERICKA
    JONES-GEORGE, DONNA RAWDON, PAULENA WHITE, STEPHANIE CLARK,
     JESSICA CROUSE, KATI VALENTINE, ANALYCIA SANCHEZ, ERICA SMITH,
GABRIELLE HOFFMAN, SAMANTHA WILLIAMS, SHAQUETTA FELDER, CHARMINA
 LEWIS, TANIA KENT, MARQUISA JOHNSON, NICOLE JACKSON, EMILLIE HOPPER,
   KRISTY COLLINS, SAMANTHA ALLEN, SARA WASHBURN, STEPHANIE TREAT,
KIMBERLY MCKINNEY, TANIQUA BLETCHER, CRYSTAL RODGERS, SANDY TATUM,
  TIFFANY DEBUSK, AMANDA CRITES, ANISHA LONGMIRE, BETH BURTON, KAY
     PAGE, SHAVONTE JOHNSON, JULIA FERGUSON, DESIREE SAENZ, TRISTYN
   ARIYAN, DODIE ARNOLD, KIMBERLY MOULTON, JOAN REDFIELD, REBECCA
     DURDEN, CAROLYN SUTTON, TYMEIKA BASKIN, LILLIE BATTLE-EASON,
    RACHELLE LILLY, ANGELA HENDERSON, BRITTANY SHUMPERT, DANIELLE
   WEHRLEY, NICHOLE HITCHCOCK, JAMIE O'BRYAN, MEGAN DEAN, JOANNA
MOMOKO CLINE, SHARI HERNANDEZ, KATHERINE JACOBSEN, LINDSAY MILLER,
  ANGELA ROSE PADILLA, JASMAN AL-SHWAIYAT, CHESSICA MAUS, CHRISTINE
 WILSON, JAIMER PELLER, ARLENE CORDERO, JULIE GONZALEZ, JENNIFER HULL,
WENDY BROWN, AMANDA WAITE, TANAZIA MCCANTS, ALEXANDRIA ESTRADA,
 ALEXIS WALTON, KAYLA OWENS, CORNEISHA FOSTER, ERIKA NACKE, BRIANA
    GARNER, ELIZABETH PAIGE, SHARLA BERNDT, KESHIA BARNETTE, DEVON
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    PINCKNEY, PORSCHE DAVIS, KHELEE SAWYER, DAFFNEY HICKS, ZEBERA
  LAUNIUS, CHARLA MYERS-PERKINS, WILMA F. MITCHELL, QUINEISHA JUDD,
MOKEDA ALEXANDER, KENDRA HILL, VALIENCIA PARKER, DARNESIA FINKLEY,
  MARY NORTON, ASHLEY MANDOLINE, JESSICA WATSON, COURTNEY SMITH,
  SARA SUTPHIN, KELLY HARRIGAN, JACQUELINE SHERLEY-DOUGLAS, NICOLE
SWEITZER, TONJA ABIAKAM, JENNIFER DRAUGHN, HATTIE HANSEN, KHADIJAH
ROBINSON, TONI E. COLEMAN, BRANDY FLETCHER, ANDREA ROBINSON, BRIANA
 STILLS, ALICIA THAMES, JESSICA GRABILL, VIVIAN DAIGLE, KELLY REIS, LESLIE
MARTIN, ANGELA ROBINSON, GINGER KUCHLER, KARLENA JENKS, TESS MORSE,
   TAMMI MILLER, TINA WEBBER, AMANDA HARVEY, LAUREN DONALDSON,
  CATHERINE KING, BRANDI GEDDINGS, BRIGITTE COCKCROFT, ANN EVERETT,
    PEGGY POSPICHEL, SHONTON L. BURTON, SHANEEN THOMPSON, NICOLE
  AMARO, MICHELLE WHITTED, TERI CARMICHEAL, LAURA GABRIEL, BRIANA
MCCRANIE, HEATHER HEMBERGER, TAMI UNROE, CHARLENE GOMEZ, CHELSEA
     COULTER, ALIYA QUICK, ARIELLE CATRON, BRIDGET COBURN, ASHLEY
  ANTKOWIAK, KATIE LYNN ARABIE, JILL GENOVESI, STEPHANIE COEN, JULIE
 GARCIA, KAYLA FAULKNER, MELISSA SNOW, AISLYNN POUNDS, CORA CLEAR,
      KARRIE SHIELDS, CHRISTON FORE, KIMBERLY HAMILTON, SHUNIKA
     HEMINGWAY, CASSANDRA BECKER, DANYELL RUSSELL, ERICA OWENS,
  CATHERINE MARTINEZ, KIMBERLY GRANT, JACLYN HERALD, BROOKE BIRGE,
     TIFFANI DALTON, STACY BETH SWENTON, BRANDI CARROLL, ASHLEY
RODRIGUEZ, KRISTIN ANDRICK, KERI RICE, STEFANIE THACKER, LAURA FRISBY,
   LINDSEY GRADY, BESS PATTERSON, ALYSTA ESPINAL, AISHA CUFFIE, EMILY
   COKRLIE, TAMMY SCHATZBERG, JAIME POWELL, SHELBY LUANN MCCAIN,
   MELISSA FUSCO, JANELL DAVIS, ALICIA RUFFIN, ANGELA KOLEBUCK UTZ,
JENNIFER BAXTER, AIMEE GALLOWAY, TINA PERSONETTE, HANNAH RUTLEDGE,
    KATIE ARABIE, TONINA BARTLES, CATHERINE JENSEN, BRIANNA SMITH,
  SHANEKUA WATKINS, DESIREE LEMASTER, APRIL GALLOWAY, QUASHUNNA
   MILLER, RACHEL MCINTYRE, SUNDRIA CARROLL, DENISE FORD, VICTORIA
  KYAKUWA, SHANTELLA BROWN SANDERS, GRACE DIXON, CHANELL WINN,
ASHA' ANA THOMAS, LINDSEY CADWELL, ROBIN COLEMAN, AMANDA SAILORS,
     LAURA BOYCE, MICHELLE THOMAS, LISA KUEHL, JERRY JANE WYNNE,
   CHYNEICE OLIVER, CYNTHIA MAURO, DANIELLE HOLT, ANDREA NOVAK,
  MICHELLE KAPLAN, LYCIA SLEDGE, QUANTASHIA MOSLEY-MORRIS, LATOYA
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    STEVENSON, DONNA HARRIS, KAYLA CLAYTON, SEDONA BLAKE, KAMILLE
     TURNBOW, CINDEL DOWNS, CANDICE ARNWINE, ALYXIS FELTUS, DEVON
PARKER, KIERA MCCLENDON, CATHERINE GODFREY, KATIE DECKER, LATASHA
 MONET, EBONY RAY, CHARLES MONET, ANDREA EASTER, WHITNEY ROBERTS,
   SHANELLE HARRIS, JILL SNEED, JOY MYERS, KEONA BURTON, PAIGE OLSON,
MARY JO TRACEY, TANISHA JONES, CHRISTINA RAY, LATARSHA PASCHAL, EMILY
  SPRINGER, RACHEL ELIZABETH SAMMONS, ERICA RODRIGUEZ, LARISSA WAY,
   MICHELLE VAETH, RIKKI SATTERFIELD, LEQUITA NEELY, TAMEKIA PERTEET,
  MELISSA MARTIN, NICHOLE THOMAS, ELIZABETH OLSON, KIMBERLY TAFFER,
KAITLIN STRINGFELLOW, MAGAN WILLS, DAVID STRINGFELLOW, HOPE GAYLE,
     ALFREDA BOLDEN, SYLVIA HAGANS, LAVONDA LEWIS, JENNIFER SISSON,
  RICKEYA FREEMAN, CHANDRA MASON, CALLIE JORDAN, ROXANNE BENDICK,
      ASHLEY MCCUNE, COSETTE POSORSKI, OLUSHOLA WALKER, MICHELLE
   RUTHERFORD, NIJA JOHNSON, AMBER LARGE, TASHENA EASON, KHALILAH
    BOWENS, SARAH JENKINS, LEAH SOUTHARD, MAURISSA HARRIS, CLARITY
PAVON-MOORE, NICOLE MAJOR, TANKIA RHODES, CARRIE THOMPSON, CARRIE
  THOMPSON, DYONCHE WILLIS, KIMBERLY BARROW, ADRIENNE SEUZENEAU,
    DAVITA ROBINSON, ROSEAN MOORE, JENNIFER DUCRE, MADONNA LYNN
  DUGAS, KALENA WILLIAMS, LARYNA LEWIS, MARIAN CALE, MARIAN CALE,
   JULIE SPENCER, GASHIA WILLIAMS, TYRUNSIA LOWE, SHANTRELL TALTON,
  ADRIAN CLARK, TONIA BLALOCK, ERICA WILLIAMS, SARAH HAFER, MEGAN
     MILLER, MONICA ANDERTON, KATOMIA MORRIS, MALKIA WOODWARD,
 JASMINE HOWARD, AUDREY JOINES, ANDRIA REED, KRYSTLE WOOD, AMANDA
   SANTORO, TRUEMEKA WALLACE, KENDRA PATTERSON, CHERYL DANIELLE
BRODFEHRER, LATOYA GREEN, TAMMY MICHELLE HOUSE, SUZIE DANGERFIELD,
SELENA IRVIN, LATOSHA LEWIS, MAGUILE SEYMOUR, ALECIA HENRY, CANDACE
     CROVETTO, GEORGIA FOSTER, KAQANTE BROWN, MAKEYTA ANDERSON,
  TACHICKA ROBINSON, TIERRA SLACK, JERICA SCHAFFER, KATRICE ROUSSELL,
     LAVONDA DAVENPORT, BRITNEY THOMPSON, LAUREN DAVREN, BONNIE
 CEDANO, DESHAUNNA JOHNSON, CHASSIDY FRUGE, KEISHA SEWARD, FALLON
     EVANS, NICOLE WHITE, KELLY CASNAVE, TYNA REESE, LORI HARTFORD,
      WILLETTE SMITH, BRANDI FAVORS, SHONTAE BLOUNT, JEVON BOGAN,
     SHADANA RELIFORD-PALMER, KATHLEEN MOLINA, L'TICIA SIAS, JESSICA
OQUELI, ANITA LONG, JENNIFER LYNN CARR-AMONETT, CIARA HAYES, NADIA
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  DAMRON, NEDRA BELL, NATASHA MANNING, ANITRA WADE, LESLIE BERRY,
   CARRIE BREAUX, JESSICA JETT, TRICHELLE HARRISON ROBINSON, SCHAMEKA
  SANTA CRUZE, ANNE GUILLOT, PATRICE WEBSTER, FELITA DOOLEY, TRASULA
   CLARK, SHANTELL FIELDS, ANGELINA SHARIDAN, TERRAINE ZENO, SHARON
 TOUPS, ALISHA SCUDDER, KAYTLIN RAINES, LESLEE DIAZ, EBONY TAYLOR, JILL
JOHNSON, SHERRIE LEWIS, SHARISH DAVIS, MELINDA JOSEPH, BRIGETTE MORRIS,
PAULA D'AMICO, LEONA JIMMERSON, JENNIFER GIBLIANT, QUINTELLA LANDRY,
   RENEE PILCHER, DELILAH PEREZ, LESLIE FATZ, LEIGH RODERICK, JERRELDA
    SANDERS, HAILEY SHELTON, CINDY N. BEST, KATHLEEN RENATA SEEGERS,
   NICHOLE HILLER, JENNIFER SULLIVAN, KELSEY JACKSON, KEMISHA WILDER,
 ANNE WILSON, QUIANA BRYANT, KIMBERLY DAVIS, HEATHER GARCIA, JESSICA
   FULLER, LATONYA HILLIARD, AMANDA WILSON, AMBER FENNELL, NAOMI
   WILLIAMS, KELLY KENNEDY, MELISSA DILOSA, KIMBERLY JACKSON, SHAWN
     AUGUST, KAREN FRANCIS, BETTY WEMPE, HEATHER CRUVER, SEQUILLA
     GARRETT, SHAMIKKI SHIPP, KATRINA STEVENSON, KEIONNE THOMPSON,
DONISHA BUTLER, SHELIA SPEARMAN, DANIELLE SCHMIDT, ROBIN GUIDRY, KIA
     BARNES, AMBER BRUEGGERT, JASMINE BAYNHAM, MONIQUE DUNMILES,
  JOZZETTE RANDLE, ALEXIS GALLIEN, LISA CLANTON, JESSICA WHITE, INGRID
    BUSTOS, RHONDA DIAMOND, JODIE SWOFFER, CHELSEY BAUDOIN, DENISE
    ANCAR, TANIKA BRUMFIELD, MARY SMITH, ANGELL NAVARRE, EVE SIMS,
DANIELLE BUTLER, KYONDRA ALBERT, ANDREA BRUNO, KEYSHARA ARMSTEAD,
 BRIDGETTE BLUNT, KASSANDRA HALSTEAD, LINDSAY BOONE, JERESA MORGAN,
 JAMIE WHITELY, BRAYANNE FORD, ROSE RAINEY, NORMA THOMAS, KIMBERLY
   LANDRY, KIMBERLY STEWART, TONYA ALLEN, ARRIELLE HUGHES, HILLERY
 THOMPSON, CIERA LAMB, CHELSEA MARIE BRYANT, TEXAS BLUNDELL, FLORA
 JORDAN, JESSICA JEFFERSON, SHEENA CHENEAU, CAROLINA ROMERO, JASMINE
   LEFORT, DORIONNE HUNTINGTON, JASMINE SHORT, MARY DORAN, CAROL
   JACKSON, TONIA ROUEGE, TAMIKA HYDE, EBONI SHAW, BRIANNE TRIGGER,
 CHELSEA VAN WERT, TANERA DALE-NAPPER, NICOLE LOWRY, CIERRA DENISE
     GARNER, GINA BAKER, AMANDA WOLTERS, AMANDA GARCIA, CRYSTAL
     BARLOW, CHRISTOPHER BARLOW, NATALIE STEVANUS, KATRENA WARR,
  BRENDA YEAROUT, MYLAH NWANKWO, CLARA ALLEN, ANGELA SCHNEIDER,
JACQUELYN SEIFERT, TAMMIE WIRE, KEISHA CURRIE, DIANA LEONARD, CONICA
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   OLSON, DANIELLE KORTE, BRITTNEY M. GENTRY, JOSHUA GENTRY, KRISTA
   BURKE, SARAH BOETTGER, CARMEN MORALES, SABRINA BOISAUBIN, NORA
     MATA, JENNA TRUE, STEPHANIE BAKER, KATELYN TOWER, CHARLOTTE
STRIBLING, HEIDI ROSENOW, BRITNEY MURPHY, HOPE GARCIA, ASHTON SILVIS,
  EMILIE SITZMAN, ROCHELL MYLES, ANJANET COLEMAN, SAMANTHA DARBY,
KATE JENSEN, CIERA COLE, DENISE KEIDERLING, LISA FRAZIER, ERICKA TURNER,
 JASMIN THURMAN, KATIE SCHUBEL, KATHLEEN FRIZZELL, SHAKEEMA MOORE,
   JESSICA WEIN, JAYDE SEAFORD, JENA COOK, HOLLY JONES, KEISHA PIERCE,
   MELISSA LOVE, DESHERA MYERS, GRACEANN ROBINSON, SARAH OTTMAR,
    NICOLE NUNERY, ASHLEY DAVIS, LAURA DACUS, GLORIA FIELDS, APRIL
JOHNSON, MARIA RODRIGUEZ, KATHLEENA HAYS, LISA SETTLE, TIFFANY FITCH,
  NICOLE MAZZANTI, WHITNEY HOMER, MEGAN ISHAM, DANICA HENDRICKS,
           MELINDA DOBSON, CHARLOTTE BROWN, MARY BURDETTE,

                                                       Plaintiffs-Appellants,

                                           v.

BAYER PHARMA AG, BAYER OY, BAYER HEALTHCARE PHARMACEUTICALS INC.,

                                                       Defendants-Appellants. ∗



               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK




Before:
                       SACK, CHIN, and LOHIER, Circuit Judges.



∗
      The Clerk of the Court is respectfully directed to amend the official caption to
conform to the above.

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             Appeal from a judgment of the United States District Court for the

Southern District of New York (Engelmayer, J.) granting summary judgment in

favor of defendants-appellees dismissing plaintiffs-appellants' products liability

claims after precluding, pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the opinions of plaintiffs-appellants' expert witnesses as to

general causation.

             AFFIRMED.




                          MAXWELL KENNERLY, Kennerly Loutey LLC, Elkins
                              Park, Pennsylvania (Lawrence L. Jones II, Jones
                              Ward PLC, Louisville, Kentucky, and Martin D.
                              Crump, Davis & Crump, P.C., Gulfport,
                              Mississippi, on the brief), for Plaintiffs-Appellants.

                          LISA S. BLATT (F. Lane Heard III, Matthew J. Greer,
                                Kimberly Broecker, on the brief), Williams &
                                Connolly LLP, Washington, D.C.; Paul W.
                                Schmidt, Michael X. Imbroscio, Phyllis A. Jones,
                                Covington & Burling LLP, New York, New York,
                                and Washington, D.C.; Elmore James Shepherd,
                                Shook, Hardy & Bacon, LLP, Houston, Texas; and
                                Shayna S. Cook, Goldman Ismail Tomaselli
                                Brennan & Baum LLP, Chicago, Illinois, for
                                Defendants-Appellees.




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PER CURIAM:

             Plaintiffs-appellants ("plaintiffs") appeal the district court's

judgment entered June 21, 2019, in favor of defendant-appellee Bayer

Pharmaceuticals Inc. ("Bayer") and dismissing all claims. By opinion and order

entered October 24, 2018, the district court granted Bayer's motion pursuant to

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), to exclude the

testimony of all of plaintiffs' experts. In re Mirena IUS Levonorgestrel-Related

Prods. Liab. Litig., 341 F. Supp. 3d 213 (S.D.N.Y. 2018). By opinion and order

entered June 11, 2019, the district court granted Bayer's motion for summary

judgment on the ground that the remaining evidence was insufficient to establish

general causation, or in other words, that plaintiffs failed to offer evidence to

suggest that Bayer's product is capable of causing the type of injuries from which

plaintiffs claim to suffer. In re Mirena IUS Levonorgestrel-Related Prods. Liab. Litig.,

387 F. Supp. 3d 323 (S.D.N.Y. 2019).

             On appeal, plaintiffs argue that the district court improperly

excluded the opinions of their experts on general causation, erred in granting

summary judgment for Bayer, and denied plaintiffs their right to obtain and

produce evidence in discovery. We reject plaintiffs' arguments, and for



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substantially the reasons set forth in the district court's thorough opinions, we

affirm its judgment.

                                 BACKGROUND

             The Mirena Intrauterine System ("Mirena") is a plastic T-shaped

intrauterine device ("IUD"), manufactured by Bayer, that releases a synthetic

steroid hormone called levonorgestrel ("LNG") into the uterus to prevent

pregnancy. Plaintiffs are women from across the country who allege that they

developed idiopathic intracranial hypertension ("IIH") as a result of using

Mirena. 1 The Judicial Panel on Multidistrict Litigation ("JPML") consolidated

plaintiffs' cases in the Southern District of New York for pretrial proceedings,

where plaintiffs filed their consolidated amended complaint alleging negligence,

manufacturing defect, design defect, failure to warn, breach of implied and

express warranties, negligent misrepresentation, fraudulent misrepresentation,

fraud, and state consumer fraud violations.

             On June 21, 2017, the district court entered a scheduling order giving

"priority" to the issue of "whether plaintiffs have admissible evidence sufficient




1     IIH is known by multiple names, including pseudotumor cerebri ("PTC") and
benign intracranial hypertension ("BIH").

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to establish general causation of the harms alleged." S. App'x at 212.

Accordingly, the district court scheduled a hearing pursuant to Daubert, "as to all

expert evidence bearing on general causation." S. App'x at 214. The district court

held its Daubert hearing April 9-11, 2018, at which plaintiffs and Bayer put

forward seven and twelve expert witnesses, respectively, on the issue of general

causation. Plaintiffs' experts were (1) Dr. Vincenzo Salpietro, (2) Dr. Conrad

Johanson, (3) Dr. Philip Darney, (4) Dr. Lemuel Moyé, (5) Dr. James Wheeler, (6)

Dr. Frederick Fraunfelder, and (7) Dr. Laura Plunkett.

             On October 24, 2018, the district court issued its 156-page opinion

and order granting Bayer's Daubert motion as to all of plaintiffs' experts and

denying as moot plaintiffs' motion to preclude Bayer's experts.

             Bayer then moved for summary judgment, arguing that without

expert witnesses, plaintiffs had insufficient evidence to establish general

causation. On June 11, 2019, the district court granted Bayer's summary

judgment motion, and on June 21, 2019, entered judgment and closed all of the

cases in the MDL. This appeal followed.




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                                    DISCUSSION

I.     Standard of Review

              We review a "district court's decision to admit or exclude expert

testimony under a highly deferential abuse of discretion standard." Zuchowicz v.

United States, 140 F.3d 381, 386 (2d Cir. 1998) (citing Gen. Elec. Co. v. Joiner, 522

U.S. 136, 141 (1997)). "A decision to admit or exclude expert scientific testimony

is not an abuse of discretion unless it is manifestly erroneous." Amorgianos v.

Nat'l R.R. Passenger Corp., 303 F.3d 256, 265 (2d Cir. 2002) (internal quotation

marks omitted). "Significantly, the abuse of discretion standard 'applies as much

to the trial court's decisions about how to determine reliability as to its ultimate

conclusion.'" Id. (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)).

Thus, the trial judge has broad discretion in determining "what method is

appropriate for evaluating reliability under the circumstances of each case." Id.

              We review a grant of summary judgment de novo, "construing the

facts in the light most favorable to the non-moving party and drawing all

reasonable inferences in that party's favor." Burns v. Martuscello, 890 F.3d 77, 83

(2d Cir. 2018).




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II.     Daubert

               Under Federal Rule of Evidence 702, lower courts perform a

"gatekeeping" function and are charged with "the task of ensuring that an

expert's testimony both rests on a reliable foundation and is relevant to the task

at hand." Daubert, 509 U.S. at 597. But while "Rule 702 sets forth specific criteria

for the district court's consideration, the Daubert inquiry is fluid and will

necessarily vary from case to case." Amorgianos, 303 F.3d at 266. Similarly, while

the Court in Daubert identified four factors bearing on reliability that district

courts may consider -- (1) whether a theory or technique "can be (and has been)

tested"; (2) "whether the theory or technique has been subjected to peer review

and publication"; (3) a technique's "known or potential rate of error," and "the

existence and maintenance of standards controlling the technique's operation";

and (4) whether a particular technique or theory has gained "general acceptance"

in the relevant scientific community, Daubert, 509 U.S. at 593-94 -- the Court

cautioned that "[t]hese factors do not constitute . . . a 'definitive checklist or test.'"

Amorgianos, 303 F.3d at 266 (quoting Daubert, 509 U.S. at 593). So long as "an

expert's analysis [is] reliable at every step," it is admissible. Id. at 267.




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             Plaintiffs argue that the district court abused its discretion by

(1) focusing on plaintiffs' experts' conclusions rather than their methodologies,

(2) requiring the experts to back their opinions with published studies that

definitively supported their conclusions, and (3) taking a "hard look" at the

experts' methodology. Appellant Br. at 14-15. Each argument is rejected.

             We start with plaintiffs' third argument: that the district court erred

by taking a "hard look" at each expert's methodology. This argument is central to

plaintiffs' appeal, as they argue the district court's analysis of each expert was too

searching. But as noted, an expert's methodology must be reliable at every step

of the way, and "[i]n deciding whether a step in an expert's analysis is unreliable,

the district court should undertake a rigorous examination of the facts on which

the expert relies, the method by which the expert draws an opinion from those

facts, and how the expert applies the facts and methods to the case at hand."

Amorgianos, 303 F.3d at 267 (emphasis added). Accordingly, not only was it

appropriate for the district court to take a hard look at plaintiffs' experts' reports,

the court was required to do so to ensure reliability.

             Plaintiffs' contention that the district court impermissibly focused on

plaintiffs' experts' conclusions instead of their methodologies is similarly



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unavailing. The district court provided in-depth analysis of whether the experts

applied their methodologies reliably. S. App'x at 52 (discussing in detail how

Moyé's analysis "is flawed by serious methodological deficiencies"), 70-71

(explaining the "number of methodological flaws" with Plunkett's analysis), 84

(Wheeler's methodology was "flawed in multiple respects"), 102 (discussing the

"hallmarks of unreliability" throughout Fraunfelder's analysis), 119, 121 (noting

that Darney's report suffers from a broad overarching lapse of methodology and

two speculative leaps rendering it unreliable), 139 ("infirmities precluding a

finding of reliability as to three of the four steps" of Johanson's method), 149

(Salpietro's opinion "does not meet any of the Daubert criteria for reliability").

Plaintiffs may (and do) challenge whether the reliability analysis was correct, but

plaintiffs have no basis to argue that the district court did not engage in a

detailed analysis of their experts' methodologies.

             Next, plaintiffs argue that the district court erred by requiring the

experts to back their opinions with studies definitively supporting their

conclusions. Even assuming the district court did impose such a requirement, it

did not err in doing so. We have held that "[w]here an expert otherwise reliably

utilizes scientific methods to reach a conclusion, lack of textual support may go



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to the weight, not the admissibility of the expert's testimony." Amorgianos, 303

F.3d at 267 (internal quotation marks and citations omitted). In other words, an

expert need not back his or her opinion with published studies that support his

or her conclusion if he or she has utilized reliable scientific methods to reach that

conclusion. But here, because the district court found that plaintiffs' experts did

not "otherwise reliably utilize[] scientific methods," and the conclusions were not

supported by other studies, the experts' reports were properly excluded. Id.; see

Joiner, 522 U.S. at 146. Further, the court was well within its discretion to

consider whether plaintiffs' experts' conclusions were generally accepted by the

scientific community. The "general acceptance" of an expert's conclusion is one

of the four enumerated considerations in Daubert, 509 U.S. at 594, and while a

court need not consider the Daubert factors, it does not abuse its discretion in

doing so.

             In sum, the district court appropriately undertook a rigorous review

of each of plaintiffs' experts, and based on that review reasonably found that the

experts' methods were not sufficiently reliable and that their conclusions were

not otherwise supported by the scientific community. Accordingly, the district

court did not abuse its discretion in precluding the experts' conclusions.



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III.     Summary Judgment

                We turn to whether the court correctly granted summary judgment

in favor of Bayer. We conclude that it did, for we agree that no reasonable juror

could find that it was more likely than not that general causation had been

established based on plaintiffs' admissible evidence.

                State law controls on the question of what evidence is necessary to

prove an element of a state law claim, such as general causation. See Amorgianos,

303 F.3d at 268. The district court concluded that all fifty states "require some

evidence of general causation in products liability cases involving complex

products liability (or medical) issues." S. App'x at 175. This question was

presented to us in a previous MDL regarding Mirena, and we affirmed the

district court's holding to that effect there. See Mirena MDL Plaintiffs v. Bayer

HealthCare Pharms. Inc. (In re Mirena IUD Prods. Liability Litig. I), 713 F. App'x 11,

15-16 (2d Cir. 2017) (summary order). Plaintiffs attack that conclusion from the

previous Mirena IUD MDL case and the district court's holding below, but, as

the district court noted and is still true now, plaintiffs have failed to point to any

state that does not have a general causation requirement for the type of claims at

issue here. Rather, plaintiffs argue that some states allow evidence on specific



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causation before or in conjunction with the presentment of evidence on general

causation, but that is a challenge to the way in which the district court managed

the litigation -- which is discussed below -- not the substantive state law that the

district court applied. Accordingly, we are not persuaded that the district court

erred in holding that there is a general causation requirement across all states.

              Alternatively, plaintiffs argue that even if they were required to

satisfy a threshold general causation showing, their failure to do so was because

the district court prevented them from obtaining and presenting such evidence.

We also reject this argument.

              "A district court has wide latitude to determine the scope of

discovery, and we ordinarily defer to the discretion of district courts regarding

discovery matters. A district court abuses its discretion only when the discovery

is so limited as to affect a party's substantial rights." Twinam v. Dow Chem. Co. (In

re Agent Orange Prod. Liab. Litig.), 517 F.3d 76, 103 (2d Cir. 2008) (internal

quotation marks and alteration omitted). In other words, "[a] party must be

afforded a meaningful opportunity to establish the facts necessary to support his

claim." Id.




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              Plaintiffs first argue that the district court erred in granting Bayer's

summary judgment motion for lack of evidence of general causation because the

district court excluded all of their experts' reports instead of just portions of

them. Plaintiffs therefore are suggesting that the testimony that they believe

should have been carved out as admissible would have been sufficient to

establish general causation. But plaintiffs have not explained which portions of

their experts' reports should have been carved out as admissible (assuming, as

the plaintiffs ask us to on this issue, that the district court's Daubert analysis was

correct but warranted exclusion of only portions of their experts' reports) nor do

they explain how those portions would have established general causation. We

cannot credit a nonmovant's merely speculative assertion that some evidence

that they have not specifically identified could have created a genuine dispute

regarding general causation. See DiStiso v. Cook, 691 F.3d 226, 229-30 (2d Cir.

2012).

              Plaintiffs next argue that the district court erred in precluding

differential-diagnosis evidence, which they argue would have established that

Mirena may have been the likely cause of their IIH.2 But whether Mirena


2      A differential diagnosis is "a patient-specific process of elimination that medical
practitioners use to identify the 'most likely' cause of a set of signs and symptoms from
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actually caused plaintiff's IIH is an issue of specific causation, not general

causation, the latter of which concerns whether Mirena is even capable of

causing IIH. See Amorgianos, 303 F.3d at 268. And while we have declined to

adopt a bright-line rule that "a differential diagnosis may never provide a

sufficient basis for an opinion as to general causation," we have explained that

the "district judge has broad discretion in determining whether in a given case a

differential diagnosis is enough by itself to support such an opinion." Ruggiero,

424 F.3d at 254. Here, plaintiffs failed to explain below or on appeal how "the

rigor of differential diagnosis performed, the expert's training and experience,

the type of illness or injury at issue, or some other case-specific circumstance"

militates in favor of admitting that evidence to establish general causation. Id.

Accordingly, the district court did not abuse its broad discretion in excluding

differential-diagnosis evidence.

              Plaintiffs also argue that the district court improperly precluded

them from obtaining other general-causation discovery. But the district court did

not abuse its broad discretion in managing discovery. After the parties notified

the district court of numerous discovery disputes, the court issued rulings from



a list of possible causes." Ruggiero v. Warner-Lambert Co., 424 F.3d 249, 254 (2d Cir.
2005).
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the bench ordering Bayer to produce millions of documents from more than fifty

custodians. Forty-one of those custodians had been identified in the previous

Mirena IUD MDL, but the court allowed plaintiffs to obtain documents from

eleven new custodians. Despite plaintiffs' arguments to the contrary, the district

court considered relevance and proportionality when resolving the discovery

disputes. We conclude that the district court's thorough and well-reasoned

discovery orders throughout the litigation were well within its wide discretion.

                                 CONCLUSION

            For the foregoing reasons, the district court's judgment is

AFFIRMED.




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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                             CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                      CLERK OF COURT

Date: December 08, 2020                                          DC Docket #: 17-md-2767
Docket #: 19-2155cv                                              DC Court: SDNY (NEW YORK
Short Title: In re: Mirena IUS Levonorgestr                      CITY)
                                                                 DC Judge: Engelmayer
                                                                 DC Judge: Cott



                              BILL OF COSTS INSTRUCTIONS



The requirements for filing a bill of costs are set forth in FRAP 39. A form for filing a bill of
costs is on the Court's website.

The bill of costs must:
* be filed within 14 days after the entry of judgment;
* be verified;
* be served on all adversaries;
* not include charges for postage, delivery, service, overtime and the filers edits;
* identify the number of copies which comprise the printer's unit;
* include the printer's bills, which must state the minimum charge per printer's unit for a page, a
cover, foot lines by the line, and an index and table of cases by the page;
* state only the number of necessary copies inserted in enclosed form;
* state actual costs at rates not higher than those generally charged for printing services in New
York, New York; excessive charges are subject to reduction;
* be filed via CM/ECF or if counsel is exempted with the original and two copies.
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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: December 08, 2020                                        DC Docket #: 17-md-2767
Docket #: 19-2155cv                                            DC Court: SDNY (NEW YORK
Short Title: In re: Mirena IUS Levonorgestr                    CITY)
                                                               DC Judge: Engelmayer
                                                               DC Judge: Cott



                          VERIFIED ITEMIZED BILL OF COSTS



Counsel for
_________________________________________________________________________

respectfully submits, pursuant to FRAP 39 (c) the within bill of costs and requests the Clerk to
prepare an itemized statement of costs taxed against the
________________________________________________________________

and in favor of
_________________________________________________________________________

for insertion in the mandate.

Docketing Fee      _____________________

Costs of printing appendix (necessary copies ______________ ) _____________________

Costs of printing brief (necessary copies ______________ ____) _____________________

Costs of printing reply brief (necessary copies ______________ ) _____________________



(VERIFICATION HERE)

                                                                 ________________________
                                                                 Signature
